                 Case 20-50627-CTG                Doc 117        Filed 06/22/22         Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE



In re:                                                                Chapter 7
                                                                      Case No. 18-11535 (CTG)
THE ART INSTITUTE OF PHILADELPHIA
LLC, et al.,1                                                         (Jointly Administered)
                      Debtors.


GEORGE L. MILLER, Chapter 7 Trustee,

                                     Plaintiff,

                               v.                                     Adv. Proc. No. 20-50627 (CTG)

TODD S. NELSON, JOHN R. McKERNAN,                                     Re: D.I. 93, 95, 98, 101, 102
SAMUEL C. COWLEY, EDWARD WEST,
MARK A. McEACHEN, FRANK JALUFKA,
J. DEVITT KRAMER, MARK NOVAD, JOHN
DANIELSON, AND MICK BEEKHUIZEN,


                                      Defendants.


               REQUEST FOR ORAL ARGUMENT ON MOTIONS TO DISMISS

         Pursuant to Rule 7007-3 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware, each of defendants Edward West,

Mark A. McEachen, Frank Jalufka, J. Devitt Kramer, Mark Novad, John Danielson, and Mick

Beekhuizen, by and through their respective undersigned counsel, respectfully requests oral

argument on the following filed and fully-briefed motions to dismiss and requests in support

thereof:



1
  Due to the large number of debtors in the above-captioned jointly-administered chapter 7 cases, a complete list of
such debtors and the last four digits of their federal tax identification numbers is not provided herein. Such information
can be found at footnote 1 of the FAC.
           Case 20-50627-CTG         Doc 117     Filed 06/22/22   Page 2 of 4




         1. Motion to Dismiss the First Amended Complaint of Defendants John Devitt

             Kramer and Mark Novad [D.I. 93]

         2. Request of John Devitt Kramer and Mark Novad to Take Judicial Notice in Support

             of Motion to Dismiss the First Amended Complaint [D.I. 95]

         3. Motion of Defendants West and Beekhuizen to Dismiss the First Amended

             Complaint [D.I. 98]

         4. Request of Defendants West and Beekhuizen for Judicial Notice in Support of

             Motion to Dismiss the First Amended Complaint [D.I. 101]

         5. Defendants Mark McEachen, Frank Jalufka, and John Danielson’s (I) Motion to

             Dismiss First Amended Complaint, or in the Alternative, (II) Motion for a More

             Definite Statement, (III) Motion to Extend Answer Deadline, and (IV) Joinder to

             Request for Judicial Notice [D.I. 102]


Dated: June 22, 2022

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            Case 20-50627-CTG      Doc 117       Filed 06/22/22   Page 3 of 4




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           Case 20-50627-CTG           Doc 117   Filed 06/22/22   Page 4 of 4




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